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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                       No. CR-12-01263-PHX-NVW
 9
                         Plaintiff,
10                                                   ORDER
11   v.

12   Ahmed Alahmedalabdaloklah,

13                       Defendant.

14         Before the Court is Defendant’s Motion to Suppress E-Mail Content and
15   Derivative Evidence (Doc. 196).
16         Defendant seeks the suppression of “all e-mail content (including, but not limited
17   to, all e-mails, attachments, ‘buddy lists,’ and private messages) produced by all third
18   party Internet Service Providers (‘ISPs’) to the Government pursuant to a search warrant
19   or based upon an order pursuant to 18 U.S.C. § 2703(d), and all evidence derived
20   therefrom.” (Id. at 1.) Defendant contends that ten court orders and two search warrants1
21   used to obtain email evidence in this case did not comply with requirements of the Stored
22   Communication Act (“SCA”), 18 U.S.C. 2701 et seq., and therefore were invalid,
23   rendering the search and seizure a violation of Defendant’s Fourth Amendment rights.
24   Defendant seeks suppression as a remedy for the constitutional violation.2
25         1
              The Motion refers to one search warrant, but includes two in its exhibits, which
26   the Government noted in its response. It is assumed that Defendant seeks suppression of
27   both search warrants.
            2
              The remedies and sanctions described in 18 U.S.C. 2701 et seq., which do not
28   include suppression of evidence, are the only judicial remedies and sanctions for
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 1          As explained below, suppression as a remedy for a Fourth Amendment violation is
 2   not available to Defendant. Even if it were, the challenged orders and warrants would not
 3   be suppressed for any of the reasons raised by Defendant.
 4   I.     FACTUAL BACKGROUND
 5          Defendant is a Syrian national charged with committing multiple crimes while
 6   residing in Iraq and China related to the death of United States soldiers and destruction of
 7   United States property in Iraq. Defendant had not been in the United States before he
 8   was arrested in Turkey for extradition and brought to Arizona in 2014.
 9          Defendant’s alleged criminal conduct began in about January 2005 and continued
10   to about July 2010. Investigators learned that some component parts related to the
11   alleged crimes were manufactured by a company headquartered in Arizona. In December
12   2009, the Phoenix FBI opened an investigation, and a federal grand jury in Arizona
13   commenced an investigation.
14          Between December 2009 and June 2011, the Government applied for and obtained
15   from the United States District Court for the District of Arizona ten orders for email
16   records and content pursuant to 18 U.S.C. § 2703(b)(1)(B) and (d) (“§ 2703(d) Orders”)
17   and two email search warrants pursuant to 18 U.S.C. § 2703(b)(1)(A) (“Warrants”).
18   When the Government obtained each of the § 2703(d) Orders, the court authorized
19   delayed notification pursuant to § 2705(a).      Through investigation, the Government
20   determined that Defendant was not a subscriber or a customer to many of the target email
21   accounts. On September 24, 2014, the Government notified Defendant via letter to his
22   counsel of the § 2703(d) Orders for the email accounts for which Defendant is the
23   subscriber or customer. On September 18, 2014, the Government provided the content
24   obtained from the accounts to Defendant. Copies of the Warrants and content obtained
25   from the Warrants were provided to Defendant through discovery.
26
     nonconstitutional violations of that chapter. 18 U.S.C. § 2708; United States v. Perrine,
27
     518 F.3d 1196, 1202 (10th Cir. 2008) (violations of § 2703 do not warrant exclusion of
28   evidence).

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 1   II.    THE FOURTH AMENDMENT DOES NOT APPLY TO THE EVIDENCE
 2          OBTAINED UNDER THE § 2703(d) ORDERS AND WARRANTS.
            Defendant seeks suppression of email evidence obtained pursuant to the § 2703(d)
 3
     Orders and Warrants as a remedy for violation of the Fourth Amendment. The parties
 4
     have not cited, and the Court has not found, authority deciding whether the Fourth
 5
     Amendment protects a nonresident alien, who has had no previous significant voluntary
 6
     connection with the United States, from an unreasonable search and seizure of property
 7
     located in the United States. Relevant binding authority, however, indicates that it does
 8
     not.
 9
            In United States v. Verdugo-Urquidez, the Supreme Court held that the Fourth
10
     Amendment does not apply to the search and seizure by United States agents of property
11
     that is owned by a nonresident alien and located in a foreign country. 494 U.S. 259, 261
12
     (1990). The case involved the search of the Mexican residences of a citizen and resident
13
     of Mexico who had no previous significant voluntary connection with the United States.
14
     The Court explained that, unlike amendments that protect a “person” or an “accused,” the
15
     Fourth Amendment protects only “the people,” a term of art used in select parts of the
16
     Constitution and related to the Preamble’s use of “the People of the United States.” Id. at
17
     265. It is a term of art that “refers to a class of persons who are part of a national
18
     community or who have otherwise developed sufficient connection with this country to
19
     be considered part of that community.” Id. Reviewing the history of the drafting of the
20
     Fourth Amendment, the Court concluded “its purpose was to restrict searches and
21
     seizures which might be conducted by the United States in domestic matters.” Id. at 266.
22
     The Court summarized its review:
23
            The available historical data show, therefore, that the purpose of the Fourth
24
            Amendment was to protect the people of the United States against arbitrary
25          action by their own Government; it was never suggested that the provision
            was intended to restrain the actions of the Federal Government against
26          aliens outside of the United States territory.
27
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 1   Id. Therefore, although aliens receive certain constitutional protections when they have
 2   come within the territory of the United States and developed substantial connections with
 3   the United States, they may be denied protection outside the sovereign territory of the
 4   United States.    Id. at 269-71.    However, the issue presented in Verdugo-Urquidez
 5   involved only a search and seizure conducted outside the United States.
 6          In United States v. Barona, the Ninth Circuit summarized Verdugo-Urquidez as
 7   holding the Fourth Amendment is inapplicable to “foreign searches involving aliens with
 8   ‘no voluntary connection’ to the United States.” 56 F.3d 1087, 1093 (9th Cir. 1995). At
 9   issue was whether wiretap evidence obtained in Denmark and Italy should have been
10   suppressed. The Ninth Circuit declined to reach the question of whether the resident
11   alien defendants had undertaken sufficient obligations of citizenship or had otherwise
12   developed sufficient connection with the United States to be considered one of “the
13   People of the United States” entitled to receive Fourth Amendment protection in the
14   context of an extraterritorial search. Id. at 1094.
15          In United States v. Zakharov, after the United States Coast Guard seized a foreign
16   fishing vessel smuggling cocaine in international waters and took its crew members into
17   custody, one of the crew members confessed in San Diego, California, during an
18   interview with an agent of the United States Drug Enforcement Administration. 468 F.3d
19   1171 (9th Cir. 2006). The crew member argued that failure to obtain a probable cause
20   determination before he was physically present in the United States constituted undue
21   delay under the Fourth Amendment and justified suppressing his confession made in the
22   United States. The Ninth Circuit stated, “[T]he district court properly determined that
23   Zakharov’s confession should not be suppressed because the Fourth Amendment does not
24   apply to non-resident aliens outside of the United States.” Id. at 1174. Relying on
25   Verdugo-Urquidez and Barona, the Ninth Circuit noted that the Fourth Amendment does
26   not apply to searches and seizures by the United States against a non-resident alien in a
27   foreign country, the alleged unconstitutional delay occurred outside of the United States
28   in international waters, and there was no suggestion that the defendant had any

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 1   substantial connection to the United States. Id. at 1179. The opinion did not address the
 2   fact that the evidence to be suppressed was obtained in the United States.
 3          In United States v. Mohamud, the Ninth Circuit decided multiple issues involving
 4   the government’s use of evidence against a United States resident that was incidentally
 5   obtained from electronic surveillance targeting a foreign national pursuant to the Foreign
 6   Intelligence Surveillance Act. 843 F.3d 420 (9th Cir. 2016). The searches took place in
 7   the United States, but no evidence showed the targeted foreign national had sufficient
 8   voluntary connection with the United States for the Fourth Amendment to apply. Id. at
 9   439 & n. 22. The Ninth Circuit concluded the search did not require a warrant because it
10   was not directed at a United States person’s communications and because “the search was
11   targeted at a non-U.S. person with no Fourth Amendment right.” Id. at 439. The Ninth
12   Circuit explained that “what matters here is the location of the target, and not where the
13   government literally obtained the electronic data.” Id. (internal quotation marks and
14   citation omitted). The Ninth Circuit held the incidental interception of a non-targeted
15   United States person’s email communications was lawful because the warrantless search
16   of the email communications of a non-United States person located outside of the United
17   States at the time of the surveillance was lawful. Id. at 441.
18          Here, it is undisputed that Defendant is a nonresident alien who had no previous
19   significant voluntary connection with the United States. When the § 2703(d) Orders and
20   Warrants were obtained and implemented, Defendant was located and resided outside of
21   the United States.     When the electronic communications were allegedly made by
22   Defendant, he was located and resided outside of the United States. No physical property
23   located in the United States was seized.          The storage of the content of electronic
24   communications on servers located in the United States—without more—cannot justify
25   extending Fourth Amendment protection to a person who does not have substantial
26   connections to the United States.
27
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 1   III.   EVEN IF SUPPRESSION UNDER THE FOURTH AMENDMENT WERE
 2          AVAILABLE TO DEFENDANT, HE HAS NOT RAISED A BASIS FOR
            DOING SO.
 3
            A.       The § 2703(d) Orders and Warrants Were Issued by a “Court of
 4                   Competent Jurisdiction” Under the Stored Communications Act.
 5          Defendant contends the § 2703(d) Orders and Warrants are invalid because the
 6   United States District Court for the District of Arizona was not a “court of competent
 7   jurisdiction” as required by the SCA.
 8          Section 2703 permits a governmental entity to require a provider of electronic
 9   communication service to disclose the contents of a wire or electronic communication. If
10   the contents to be disclosed have been stored for 180 days or less, disclosure may be
11   required “only pursuant to a warrant issued using the procedures described in the Federal
12   Rules of Criminal Procedure (or, in the case of a State court, issued using State warrant
13   procedures) by a court of competent jurisdiction.” 18 U.S.C. § 2703(a).
14          If the length of storage has been more than 180 days, disclosure may be required
15   without notice to the subscriber or customer “if the governmental entity obtains a warrant
16   issued using the procedures described in the Federal Rules of Criminal Procedure (or, in
17   the case of a State court, issued using State warrant procedures) by a court of competent
18   jurisdiction.” 18 U.S.C. § 2703(b)(1)(A). Alternatively, disclosure may be required
19   “with prior notice from the governmental entity to the subscriber or customer if the
20   governmental entity . . . obtains a court order for such disclosure under subsection (d) of
21   this section; except that delayed notice may be given pursuant to section 2705 of this
22   title.” 18 U.S.C. § 2703(b)(1)(B). The orders challenged here were made pursuant to
23   § 2703(b)(1)(B) and (d).3       Subsection (d) authorizes issuance of a court order for
24   disclosure “by any court that is a court of competent jurisdiction.” 18 U.S.C. § 2703(d).
25          Section 2711(3) defines the term “court of competent jurisdiction” to include:
26          (A)      any district court of the United States (including a magistrate judge
27                   of such a court) . . . that—
            3
28              Defendant does not separately address the validity of the Warrants.

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 1                 (i) has jurisdiction over the offense being investigated;
 2                 (ii) is in or for a district in which the provider of a wire or electronic
                   communication service is located or in which the wire or electronic
 3
                   communications, records, or other information are stored; or
 4                 (iii) is acting on a request for foreign assistance pursuant to section
 5                 3512 of this title; or

 6          (B)    a court of general criminal jurisdiction of a State authorized by the
                   law of that State to issue search warrants.
 7
     Legislative history indicates that the Stored Communications Act was amended by the
 8
     Patriot Act “to authorize the court with jurisdiction over the investigation to issue the
 9
     warrant directly, without requiring the intervention of its counterpart in the district where
10
     the [Internet service provider] is located.” United States v. Scully, 108 F. Supp. 3d 59, 77
11
     (E.D.N.Y. 2015).     The amendment was intended “to address the investigative delays
12
     caused by the cross-jurisdictional nature of the Internet” and to relieve the burden on
13
     district courts in which major communications providers are located. Id. at 77-79.
14
            Defendant contends that the United States District Court for the District of
15
     Arizona did not have “jurisdiction over the offense being investigated” when it issued the
16
     § 2703(d) Orders and Warrants because only the district court for the district where the
17
     crime occurred has “jurisdiction over the offense being investigated.” The few courts
18
     that have interpreted the phrase “jurisdiction over the offense being investigated”
19
     concerning domestic crimes have concluded it refers to territorial jurisdiction, or
20
     “something akin to territorial jurisdiction,” but they have not considered the situation in
21
     which the offense occurred outside of the district in which it was being investigated. See,
22
     e.g., United States v. Barber, 184 F. Supp. 3d 1013, 1017-18 (D. Kan. 2016) (Maryland
23
     magistrate judge lacked jurisdiction over the offense being investigated because the email
24
     account was associated with a Kansas resident and the government presented no evidence
25
     that the offense being investigated occurred in Maryland); In re Search Warrant, No.
26
     6:05-MC-168-Orl-31JGG, 2005 WL 3844032 (M.D. Fla. Feb. 13, 2006) (§ 2703(a)
27
     permits federal district court where the alleged crime occurred to issue warrants for
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 1   production of electronically stored evidence located in another district); In re Search of
 2   Yahoo, Inc., No. 07-3194-MB, 2007 WL 1539971 (D. Ariz. May 21, 2007) (same).
 3   These courts concluded that judicial and prosecutorial efficiency is served by permitting
 4   the federal district court for the district where the federal crime allegedly occurred to
 5   preside over both the prosecution and the investigation (including issuance of warrants)
 6   of the case:
 7          [I]t makes little sense to require the government, once it has opened an
            investigation into an alleged federal crime in the district where that crime
 8          allegedly occurred, to have to look to the courts, prosecutors and agents in
 9          another district where certain evidence may be found in order to procure a
            warrant for a search in that other district.
10
     In re Search Warrant, 2005 WL 3844032, at *5.
11
            However, the text of § 2711(3) does not limit “jurisdiction over the offense being
12
     investigated” to the location where the offense occurred. In order to obtain a disclosure
13
     order under § 2703(b)(1)(B)(ii) and (d), a governmental entity must offer “specific and
14
     articulable facts showing that there are reasonable grounds to believe that the contents of
15
     a wire or electronic communication, or the records or other information sought, are
16
     relevant and material to an ongoing criminal investigation.”           18 U.S.C. § 2703(d)
17
     (emphasis added). In the typical case, the criminal investigation will be opened where
18
     the crime occurred. But where an alleged federal crime has occurred outside of the
19
     United States, the governmental entity may open its investigation in a district other than
20
     where the crime occurred. In such circumstances, the federal district court for the district
21
     where the ongoing criminal investigation is located must have “jurisdiction over the
22
     offense being investigated” and be a “court of competent jurisdiction” under § 2703(d).
23
            In this case, the Phoenix FBI office opened an investigation based on Defendant’s
24
     alleged use of microchips manufactured by a company headquartered in Arizona.
25
     Subsequently, then, the United States District Court for the District of Arizona had
26
     “jurisdiction over the offense being investigated” and was a “court of competent
27
     jurisdiction” authorized to issue the § 2703(d) Orders and Warrants.
28

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 1          B.     The § 2703(d) Orders Are Valid.
 2          Defendant contends that the § 2703(d) Orders4 violate the Fourth Amendment
 3   because they were not tailored to confine the seizures to evidence of a particular crime
 4   and the applications did not contain facts justifying disclosure of email content as far
 5   back as January 1, 2005.      For the purpose of considering overbreadth and lack of
 6   particularity issues, the Court assumes Defendant has Fourth Amendment rights even
 7   though it concluded above that he does not. However, as explained below, the Fourth
 8   Amendment does not supply the standard for determining the validity of the § 2703(d)
 9   Orders in this case.
10          On December 14, 2010, the Sixth Circuit held that the SCA violates the Fourth
11   Amendment to the extent it purports to permit the government to compel an Internet
12   service provider to disclose the contents of a subscriber’s emails without first obtaining a
13   warrant based on probable cause. United States v. Warshak, 631 F.3d 266, 288 (6th Cir.
14   2010). The Sixth Circuit found, however, that the provisions of the SCA at issue were
15   not so conspicuously unconstitutional as to preclude good faith reliance, and the
16   government’s reasonable reliance on the SCA precluded exclusion of the emails. Id. at
17   288-89. The Sixth Circuit also determined that the government’s failure to comply with
18   SCA requirements for extending delayed notice did not warrant exclusion of the emails
19   because the exclusionary rule was designed to deter constitutional violations. Id. at 289-
20
            4
21            Defendant’s Motion argues that the “§ 2703(d) orders” are overbroad and lack
     particularity. (Doc. 196 at 12-13.) The Motion does not argue that the Warrants are
22   overbroad or lack particularity. (Id. at 12-15.) Defendant’s reply incorrectly states, “In
23   his Motion, Mr. Alahmedalabdalokla argued that the warrant [singular] and § 2703(d)
     orders were invalid because they did not comply with the particularity requirement of the
24   Fourth Amendment.” (Doc. 288 at 14.) The next sentence also incorrectly asserts that
25   the Motion argued “the warrants [plural] and the § 2703(d) orders amounted to forbidden
     general warrants.” (Id.) The Court does not consider issues raised for the first time in a
26   reply brief and therefore does not consider Defendant’s argument to apply to the
     Warrants. Moreover, the Warrants were sought and issued pursuant to 18 U.S.C.
27
     §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) using the procedures described in Rule
28   41(c) of the Federal Rules of Criminal Procedure—not § 2703(d). (Docs. 197-2, 197-3.)

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 1   90. Here, eight of the § 2703(d) Orders in this case were issued before Warshak was
 2   decided, and two were issued within a few days after. Subsequently, the Government
 3   applied only for warrants. Defendant does not contend that Warshak governs here, but
 4   even if it did, the Government has established good faith reliance on the constitutionality
 5   of the SCA at the time it applied for the § 2703(d) Orders.
 6          The § 2703(d) Orders sought disclosure of contents of emails under § 2703(b) and
 7   records related to emails under § 2703(c).           Section 2703(b)(1)(B)(ii) permits a
 8   governmental entity to require a provider of remote computing service to disclose the
 9   contents of certain wire or electronic communications with prior notice if the
10   governmental entity obtains a court order under subsection (d).         Section 2703(c)(1)
11   provides the same with respect to records concerning electronic communication service
12   or remote computing service.
13          Subsection (d) provides the following requirements for a court order:
14          A court order for disclosure under subsection (b) or (c) may be issued by
            any court that is a court of competent jurisdiction and shall issue only if the
15          governmental entity offers specific and articulable facts showing that
16          there are reasonable grounds to believe that the contents of a wire or
            electronic communication, or the records or other information sought,
17          are relevant and material to an ongoing criminal investigation. In the
18          case of a State governmental authority, such a court order shall not issue if
            prohibited by the law of such State. A court issuing an order pursuant to
19          this section, on a motion made promptly by the service provider, may quash
20          or modify such order, if the information or records requested are unusually
            voluminous in nature or compliance with such order otherwise would cause
21          an undue burden on such provider.
22   18 U.S.C. § 2703(d)(emphasis added).
23          Thus, the standard for determining the validity of the § 2703 Orders is whether the
24   § 2703(d) Orders are based on an application offering “specific and articulable facts
25   showing there are reasonable grounds that the contents of a wire or electronic
26   communication . . . are relevant and material to an ongoing criminal investigation.”
27   Supported by legislative history, courts have described this standard as an intermediate
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 1   one—higher than that required for a subpoena, but lower than that of probable cause. In
 2   re Applications of the United States for an Order Pursuant to 18 U.S.C. § 2703(d), 206 F.
 3   Supp. 3d 454, 455-56 (D.D.C. 2016); In re Application of the United States for an Order
 4   Directing a Provider of Elec. Commc’n Serv. to Disclose Records to the Gov’t, 620 F.3d
 5   304, 313, 314 (3d Cir. 2010) (the intermediate standard for a § 2703(d) order does not
 6   require traditional probable cause determination). “The [Stored Communications] Act
 7   stakes out a middle ground between full Fourth Amendment protection and no protection
 8   at all, requiring that the government show ‘reasonable grounds’ but not ‘probable cause’
 9   to obtain” a § 2703(d) order. United States v. Carpenter, 819 F.3d 880, 889 (6th Cir.
10   2016), cert. granted on other grounds, 2017 WL 2407484 (U.S. June 5, 2017).
11   Nevertheless, § 2703(d) does not permit disclosure based on conclusory government
12   statements or allow government fishing expeditions. In re Applications, 206 F. Supp. 3d
13   at 456.
14             The Court has reviewed each of the ten applications for the § 2703(d) Orders,
15   including those for which Defendant concedes he lacks standing to challenge,5 and the
16   ten § 2703(d) Orders issued. One of the applications, dated December 16, 2010, sought
17   information regarding two Facebook accounts linked to email accounts that were the
18   subject of other § 2703(d) Orders. It identified the specific information to be disclosed
19   regarding the account subscriber, records of user activity, and information regarding each
20   communication sent or received by the account. In addition, it sought the contents of
21   “wire and electronic communications associated with the Account that have been in
22   electronic storage in Facebook’s electronic communications system for more than 180
23   days.”
24
25
               5
26            Defendant concedes he lacks standing to seek suppression of the contents of
     emails related to any email account for which he is not the subscriber. (Doc. 288 at 15.)
27
     Seven of the ten § 2703(d) Orders seek disclosure for email accounts that the
28   Government contends belong to Defendant.

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 1          The other nine applications identified specific email account information and user
 2   connection log information to be disclosed related to a specific email account or accounts
 3   for the period January 1, 2005, to the date of the order. Eight applications also requested
 4   disclosure of “the content of electronic communications (not in electronic storage) that
 5   were placed or stored in [the Internet service provider’s] computer systems in directories
 6   or files owned or controlled by the account identified in Part A above” for a specific
 7   period, such as January 1, 2005, to July 2, 2009, or January 1, 2005, to November 4,
 8   2009. The ninth application, dated December 21, 2010, regarding one Gmail account,
 9   requested disclosure of the contents of “wire and electronic communications associated
10   with the Account that have been in electronic storage in Google’s electronic
11   communications system for more than 180 days” without reference to specific dates.
12          Each of the ten applications for the § 2703(d) Orders included an attachment that
13   provided specific facts obtained from an ongoing criminal investigation that showed a
14   reasonable basis for believing that the information sought was relevant and material to
15   the investigation. For example, the application dated December 30, 2009, stated that
16   documents found in August 2006 at 50 Omar Street, Baghdad, Iraq, which was believed
17   to be Defendant’s residence and/or location for making Improvised Explosive Devices
18   (“IEDs”), included copies of emails between Defendant and a company in Taipei,
19   Taiwan, regarding the sale of electronic components that could be used to make IEDs.
20   The application also stated that documents were found linking Defendant to a Lebanese
21   company known for sending electronics to bomb-makers in Iraq. The application sought
22   information from the Yahoo account that Defendant was using to communicate with the
23   Taiwanese company and which Defendant may have used to communicate with other
24   companies that sell electronic parts that could be used in making IEDs. The other
25   applications similarly provided specific facts from the ongoing investigation and
26   explained why the requested information was believed to be relevant and material to the
27   investigation.
28

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 1          Moreover, the magistrate judges who issued the § 2703(d) Orders expressly found
 2   that the applicant had offered specific and articulable facts showing there were reasonable
 3   grounds to believe that the records, other information, and the content of the electronic
 4   communications sought were relevant and material to an ongoing criminal investigation.
 5   Therefore, the Court finds that the application for each of the ten § 2703(d) Orders
 6   satisfied statutory requirements, i.e., provided specific and articulable facts showing that
 7   there are reasonable grounds to believe that the information sought was relevant and
 8   material to an ongoing criminal investigation.
 9          C.     The Stored Communications Act’s Delayed Notice Provisions Are Not
10                 Unconstitutional.
11          Defendant’s Motion contends that “18 U.S.C. §§ 2703 and 2705(b), which provide

12   exceptions to the SCA’s notice requirement, violate the Fourth Amendment facially and

13   as applied.” (Doc. 196 at 15.) For the purpose of considering Defendant’s challenge to

14   the SCA’s delayed notice provisions, the Court assumes Defendant has Fourth

15   Amendment rights even though it concluded above that he does not.

16          Under § 2703(b)(1)(A), a governmental entity may require a remote computing

17   service provider to disclose contents of certain wire or electronic communications by

18   obtaining a warrant using procedures described in the Federal Rules of Criminal

19   Procedure. Under this approach, the governmental entity is not required to give notice to

20   the subscriber or customer. Rule 41(f)(1)(C) of the Federal Rules of Criminal Procedure

21   requires the officer executing the warrant to give a copy of the warrant and a receipt for

22   property taken to the person from whom, or from whose premises, the property was

23   taken. “For a warrant to use remote access to search electronic storage media and seize

24   or copy electronically stored information, the officer must make reasonable efforts to

25   serve a copy of the warrant and receipt on the person whose property was searched or

26   who possessed the information that was seized or copied.” Fed. R. Crim. P. 41(f)(1)(C).

27   Thus, a § 2703(b) warrant requires the governmental entity to give notice to the remote

28   computing service provider, but not to the subscriber or customer.

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 1          Under § 2703(b)(1)(B)(ii), a governmental entity may use an administrative
 2   subpoena or court order to require a provider of remote computing service to disclose the
 3   contents of certain wire or electronic communications “with prior notice from the
 4   governmental entity to the subscriber or customer . . . except that delayed notice may be
 5   given pursuant to section 2705.” Section 2705(a)(1) permits the governmental entity to
 6   request an order delaying the required notification for a period not to exceed 90 days if
 7   the court determines that there is reason to believe that notification of the existence of the
 8   court order may have “an adverse result.” “An adverse result” is “(A) endangering the
 9   life or physical safety of an individual; (B) flight from prosecution; (C) destruction of or
10   tampering with evidence; (D) intimidation of potential witnesses; or (E) otherwise
11   seriously jeopardizing an investigation or unduly delaying a trial.”              18 U.S.C.
12   § 2705(a)(2). A court may grant extensions of the delay of notification of up to 90 days
13   each. 18 U.S.C. § 2705(a)(4). The number of extensions allowed is not limited by the
14   statute, but an extension can be granted only in accordance with § 2705(b).
15          Under § 2705(b), if certain conditions are met, a governmental entity may obtain a
16   notice preclusion order, which prohibits a remote computing service provider from
17   notifying anyone that it has disclosed information to the government. Section § 2705(b)
18   provides:
19          (b) Preclusion of notice to subject of governmental access.—A
            governmental entity acting under section 2703, when it is not required to
20          notify the subscriber or customer under section 2703(b)(1), or to the extent
21          that it may delay such notice pursuant to subsection (a) of this section, may
            apply to a court for an order commanding a provider of electronic
22          communications service or remote computing service to whom a warrant,
23          subpoena, or court order is directed, for such period as the court deems
            appropriate, not to notify any other person of the existence of the warrant,
24          subpoena, or court order. The court shall enter such an order if it
25          determines that there is reason to believe that notification of the existence
            of the warrant, subpoena, or court order will result in—
26
                 (1) endangering the life or physical safety of an individual;
27
                 (2) flight from prosecution;
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 1             (3) destruction of or tampering with evidence;
 2             (4) intimidation of potential witnesses; or
 3             (5) otherwise seriously jeopardizing an investigation or unduly delaying
                   a trial.
 4
     18 U.S.C. § 2705(b).
 5
            The parties have cited, and the Court has found, no authority deciding whether the
 6
     SCA’s delayed notice provisions violate the Fourth Amendment. Some courts have
 7
     observed that the combination of §§ 2703 and 2705(b) could allow a governmental entity
 8
     to indefinitely delay giving notice to a target while indefinitely restraining the provider
 9
     from notifying the targeted subscriber. In re Application of the United States for an
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     Order Pursuant to 18 U.S.C. § 2705(b), 131 F. Supp. 3d 1266, 1271-72 (D. Utah 2015);
11
     Microsoft Corp. v. United States Dep’t of Justice, No. C16-0538JLR, 2017 WL 530353,
12
     at * 2 (W.D. Wash. Feb. 8, 2017). However, permitting extension of notice delay periods
13
     does not mean that notice can be delayed indefinitely. Notice can be delayed only if a
14
     court initially determines that providing notice to the subscriber or customer may have an
15
     adverse result, such as endangering the life or physical safety of an individual,
16
     destruction of or tampering with evidence, etc., and makes a similar determination each
17
     time the governmental entity applies for an extension of up to 90 days. 18 U.S.C.
18
     § 2705(a)(4) (extensions of notification delay may be granted only in accordance with
19
     subsection (b), which requires finding of potential adverse result).
20
            The Motion also argues that Defendant’s Fourth Amendment rights were violated
21
     because he was not provided notice of the § 2703(d) Orders and Warrants until
22
     September 24, 2014, for some email accounts and was provided no notice for others.
23
     However, he was not the subscriber or customer for many of the email accounts and not
24
     entitled to notice for those. The Government concedes that it provided untimely notice to
25
     Defendant for four of the § 2703(d) Orders involving accounts that the Government
26
     contends belongs to or was used by Defendant.           For those four orders, the notice
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     extension periods expired on August 29, 2014, or September 6, 2014, Defendant made
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 1   his initial appearance in Arizona on August 28, 2014, and notice was provided to
 2   Defendant through his counsel on September 24, 2014. The delay of less than one month
 3   does not warrant exclusion. See Warshak, 631 F.3d at 289 (notice delay of more than a
 4   year did not warrant exclusion).
 5          Therefore, Defendant has not established that the SCA’s delayed notice provisions
 6   are unconstitutional facially or as applied.
 7          IT IS THEREFORE ORDERED that Defendant’s Motion to Suppress E-Mail
 8   Content and Derivative Evidence (Doc. 196) is denied.
 9          Dated this 3rd day of July, 2017.
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